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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF WEST VIRGINIA
                                   MARTINSBURG

  UNITED STATES OF AMERICA,


  v.                                                             Criminal Action No. 3:20-CR-42
                                                                 (GROH)

  TIMOTHY JOHN WATSON,

                        Defendant.

                UNITED STATES’ RESPONSE IN OPPOSITION TO
       DEFENDANT’S MOTION FOR RECONSIDERATION OF DETENTION ORDER

         Comes now the United States of America and William J. Powell, United States Attorney

  for the Northern District of West Virginia, by Jarod J. Douglas, Assistant United States Attorney

  for said District, and respond in opposition to the defendant’s Motion for Reconsideration of

  Detention Order [Doc. 41], filed January 18, 2021, asking this Court to reconsider its Detention

  Order [Doc. 32], entered November 23, 2020.

                                I.       BACKGROUND

         On November 17, 2020, a Federal grand jury sitting in Martinsburg returned the instant

  Indictment [Doc. 23], charging the defendant with the possession and transfer of machinegun

  conversion devices, also known as “drop in auto sears,” and the possession of a firearm silencer.

         On November 17, 2020, following the return of the Indictment, this Court conducted a two-

  and-a-half hour-long detention hearing [Doc. 27]. The Court heard testimony from the FBI case

  agent, who presented several photographs of items seized from the defendant on the day of his

  arrest and a video of an ATF examiner test-firing a semi-automatic weapon without and with the

  auto sear the defendant had manufactured. The Court also heard a lengthy proffer from defense

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  counsel as well as the testimony of each of the defendant’s parents [Doc. 29]. The Court also

  heard argument from counsel, including an approximately 45-minute long argument from defense

  counsel.

             On November 23, 2020, this Court entered the subject Detention Order [Doc. 32], directing

  that the defendant be detained pending trial. The Court based its decision on a finding that clear

  and convincing evidence had been presented that the defendant is a danger to the community and

  that no bond conditions could be set to ensure the safety of the community. The Court provided

  a thorough and detailed explanation of the note fewer than eight reasons in support of this

  decision. 1

             First, the Court found that “Defendant’s business of selling and manufacturing ‘portable

  wall hangers’ caters to members of an extremist political movement referred to as ‘Boogaloo,’”

  noting evidence that “[h]is business website encourages the use of false names and ten percent of

  all his business proceeds for March 2020 were donated directly to a GoFundMe page, ‘Justice for

  Duncan Lemp,’ a known martyr for the Boogaloo movement.” ([Doc. 32] at ¶ 3).

             Second, the Court found that “[t]hese ‘portable wall hangers’ are used to modify semi-

  automatic assault rifles into fully automatic machine guns.” In this regard, the Court emphasized

  that “one of his clients shot and killed a federal guard [and] [a]nother of his clients believed he

  was supplying international terrorists with these ‘portable wall hangers’ when arrested by federal

  agents.” Finally, the Court noted that “Defendant has over 800 clients in 50 states.” ([Doc. 32]

  at ¶ 4).



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    Though not directly related to the danger to the community finding, this Court also found that
  “[t]he weight of evidence against the defendant is strong and if convicted, he is subject to lengthy
  period of incarceration.” ([Doc. 32] at ¶ 2).
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             Third, the Court found significant evidence of statements the defendant had made because

  he was “disgruntled with the IRS because he could not pay his taxes with cash during COVID.”

  Specifically, the Court noted that “Special Agent McNeal testified that there were recordings on

  electronic devices seized during the investigation where the Defendant states, ‘Those people need

  to [f***ing] die’ and ‘Before COVID-19 ends, the world might call me a crazed gun man.’ The

  Court also noted that “Special Agent McNeal testified in relation to the IRS incident, that

  Defendant told his girlfriend, that he was going to ‘kill ‘em,’ ‘blow up the building,’ and/or ‘deface

  federal property.’” ([Doc. 32] at ¶ 5).

             Fourth, in response to the defendant’s character references, the Court stated its “concern”

  that “Defendant has changed over the years and his propensity for violence has escalated as is

  evidenced by his statements.” In this regard, the Court noted that “Special Agent McNeal

  obtained his girlfriend’s journal, where she wrote, ‘What happened to the Tim I used to know and

  what Tim will I get today.’” Similarly, the Court noted evidence that “Defendant told his

  girlfriend that if anyone came to his door for arrest or search warrant [meaning law enforcement],

  it would not be pretty.” ([Doc. 32] at ¶ 8).

             Fifth, the Court emphasized that, at the time of the defendant’s arrest, he “had a loaded

  gun, three loaded magazines with hollow point bullets, and a knife on his person.” The Court also

  noted that a search of the defendant’s residence “revealed two loaded hand guns on his nightstand,

  a loaded rifle beside his bed, and another rifle fitted with a silencer in his bedroom.” ([Doc. 32]

  at ¶ 9).

             Sixth, the Court found significant that, at the time of the defendant’s arrest, he “asserted

  that he was being kidnapped and continued to assert the same in recorded phone calls to his parents


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  from the jail.” ([Doc. 32] at ¶ 10).

          Seventh, the Court found noteworthy that, following his arrest, the defendant “asked his

  parents to get in touch with his girlfriend because he needed to marry her immediately.” ([Doc.

  32] at ¶ 10).

          Eighth, the Court found that the defendant’s “actions and behaviors” were indicative of

  someone who “attempts to circumvent rules/laws[.]”          Therefore, the Court found that the

  defendant is not “a good candidate for release under terms and conditions set by this Court.”

  ([Doc. 32] at ¶ 11).

          On January 18, 2021, nearly two months following the entry of this Court’s Order, the

  defendant filed the instant motion, asking the Court to reconsider its decision based on “new

  evidence.”

                          II.       APPLICABLE STANDARD

          Title 18, United States Code, § 3142(g) provides the specific factors that are to be

  considered to determine whether there are conditions of release that will reasonably assure the

  appearance of the person as required and the safety of any other person and the community. Those

  factors are:

      1. The nature and circumstances of the offense charged, including whether the offense is a

          crime of violence, a violation of section 1591, a Federal crime of terrorism, or involves a

          minor victim or a controlled substance, firearm, explosive, or destructive device;

      2. The weight of the evidence against the person;




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     3. The history and characteristics of the person, including but not limited to community ties,

         employment, criminal history, record of court appearance or whether the person was on

         probation or parole at the time the current offense was committed; and

     4. The seriousness of the danger to any person or the community that would be posed by the

         person’s release.

         Title 18, United States Code, § 3142(f)(2) authorizes the Court to reopen a detention

  hearing at any time before trial “if the judicial officer finds that information exists that was not

  known to the movant at the time of the hearing and that has a material bearing on the issue whether

  there are conditions of release that will reasonably assure the appearance of such person as required

  and the safety of any other person and the community.”

                                 III.       ARGUMENT

         The defendant presents four grounds for reconsideration, all based in a theory of “new

  evidence,” namely: (1) a retained clinical psychologist issued a report on January 12, 2021,

  opining that the defendant is “a relatively low risk of violent re-offense”; (2) Emily Cross “has

  offered clarification of the Government’s evidence and has indicated that she does not believe [the

  defendant] is a violent person”; (3) three friends of the defendant “can all testify that [the

  defendant] never acted in a violent manner in their presence and never advocated for violence or

  threatened violence”; and (4) “the conditions at the Eastern Regional Jail put his health and safety

  and risk and deny him the opportunity to fully participate and assist counsel in preparation of a

  defense.” For the reasons outlined below, none of these bases alone, nor in combination, warrant

  a reconsideration of this Court’s detention decision.

     A. These Items Do Not Constitute “New Evidence.”

         As an initial matter, the government questions the defendant’s characterization of these
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  items as “new evidence.” As noted above, the detention hearing was held on the same day that

  the Indictment was returned. The defendant did not move to continue the detention hearing. The

  defendant did not temporarily waive the detention hearing, while reserving his right to request one

  once prepared. Instead, the defendant participated in a two-and-half-hour-long detention hearing,

  during which his retained attorney cross-examined the case agent, elicited testimony from two

  defense witnesses, and presented an affidavit from one of the three friends. He could have

  presented affidavits of the other two friends or called them as witnesses. He could have presented

  an affidavit from Emily Cross or called her as a witness. He could have moved to continue or

  temporarily waived the detention hearing so that he could prepare such a case, including the

  preparation of psychological report. He did not. Instead, he now seeks to have a “second bite at

  the apple” nearly two months after this Court rendered its decision. The defendant should not be

  permitted to misuse the “new evidence” clause of the Bail Reform Act in this way.

     B. The “New Evidence” Does Not Warrant Reconsideration.

         The “new evidence” does not warrant reconsideration, for the reasons outlined below.

  Before addressing each item, in turn, the government first notes that none of the “new evidence”

  changes the following.

     •   The defendant was engaged in a business that “cater[ed] to members of an extremist

         political movement.”

     •   The products of this business are “are used to modify semi-automatic assault rifles into

         fully automatic machine guns.”

     •   One customer “shot and killed a federal guard.”

     •   Another customer “believed he was supplying international terrorists” with the products.


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     •   The defendant stated in a recording on an electronic device seized during the investigation

         that certain “people need to [f***ing] die” and that “before COVID-19 ends, the world

         might call me a crazed gun man.”

     •   A journal kept by the defendant’s live-in girlfriend quoted the defendant as stating he was

         going to “kill ‘em,” “blow up the building,” and/or “deface federal property.”

     •   The same journal included a question the girlfriend wrote, “What happened to the Tim I

         used to know and what Tim will I get today.”

     •   The defendant told his girlfriend that, if anyone came to his door for arrest or search warrant

         [meaning law enforcement], “it would not be pretty.”

     •   At the time of the defendant’s arrest, “he had a loaded gun, three loaded magazines with

         hollow point bullets, and a knife on his person.”

     •   A search of the defendant’s residence “revealed two loaded hand guns on his nightstand, a

         loaded rifle beside his bed, and another rifle fitted with a silencer in his bedroom.”

     •   At the time of the defendant’s arrest, he “asserted that he was being kidnapped and

         continued to assert the same in recorded phone calls to his parents from the jail.”

     •   Following the defendant’s arrest, he “asked his parents to get in touch with his girlfriend

         because he needed to marry her immediately.”

     •   The defendant’s “actions and behaviors” are indicative of someone who “attempts to

         circumvent rules/laws[.]”

     1. Dr. Boyd’s Report

         As an initial matter, the government notes that Dr. Boyd’s ultimate opinion is that the

  defendant presents a “relatively low risk of violent re-offense.”        However, the government

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  believes that “violent re-offense” is a narrower concept than the danger to the community element

  of the Bail Reform Act. In other words, the defendant can (and does) present a danger to the

  community that may not rise to the level of a new a criminal offense.

         Moreover, with all due respect to Dr. Boyd and her qualifications, the government has

  concerns that Dr. Boyd reviewed pertinent cases documents, including the Criminal Complaint,

  the transcript of the detention hearing, and this Court’s Detention Order, but still opines that the

  defendant presents a “relatively low risk of violent re-offense.” The concern is based in the fact

  that Dr. Boyd appears to place more than appropriate reliance on the subjective risk assessment

  she conducted of a defendant who is aware that he faces years in federal prison, as compared to

  the objective evidence that existed prior to the defendant becoming aware that he was under federal

  investigation or prosecution. In any event, Dr. Boyd’s report should not receive any more weight

  than the other items of evidence, which this Court has already relied on to detain the defendant.

  On balance, Dr. Boyd’s report should not cause this Court to reconsider its detention

  determination.

     2. Emily Cross’s “Clarification”

         That Emily Cross would purportedly testify that she does not believe the defendant is a

  violent person is not a “clarification” or a “contradiction” of the government’s evidence. At the

  outset, any “new” information from Emily Cross should be considered in the context of the

  defendant’s clear intent to be obstructive when he suggested to his parents that he and Emily should

  marry “immediately.” In any event, the proffered testimony does not change what she wrote in

  her diary prior to any knowledge of a federal investigation or prosecution.          The proffered

  testimony does not change her report to law enforcement regarding the defendant’s “it would not

  be pretty” statement. Significantly, the defendant does not proffer that Emily Cross is prepared
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  to retract those statements. Accordingly, the proffered testimony of Emily Cross does not warrant

  a reconsideration of this Court’s detention determination.

     3. Character Reference from Two Additional Friends

         That the defendant now has two additional friends who are willing to vouch for his alleged

  non-violent character does not warrant reconsideration either. First, the Court already had an

  affidavit from one friend at the time of its decision. Second, the proffered testimony of these two

  additional friends does not, on balance with the other evidence, alleviate the government’s

  concern, or the one already articulated by the Court, for the safety of the community.

     4. Conditions at the Eastern Regional Jail relating to COVID-19

         Conditions at the Eastern Regional Jail relating to COVID-19 do not bear on this Court’s

  determination that the defendant presents danger to the community that conditions of release

  cannot alleviate. Accordingly, for this reason alone, this line of argument should be rejected as a

  basis for reconsideration. Moreover, while there was an outbreak of COVID-19 at the Eastern

  Regional Jail in December 2020, there is only one active case at the jail with 279 inmates recovered

  as of January 25, 2021 at 3:00 p.m. See WV DHHR Website, https://dhhr.wv.gov/COVID-

  19/Pages/Correctional-Facilities.aspx, Jan. 25, 2021. Finally, the complex case schedule, with a

  trial date in April 2021, should alleviate any temporary inconvenience that COVID-19 caused to

  the preparation of his defense. If not, then a motion to continue is the appropriate recourse, not

  the release of the defendant, whom this Court has already found, for numerous reasons, is “not a

  good candidate for release.”

                                   V.      CONCLUSION

         For the foregoing reasons, the United States respectfully requests that the Court deny the

  defendant’s motion without the need for a hearing.
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                                            Respectfully submitted,

                                            WILLIAM J. POWELL
                                            UNITED STATES ATTORNEY


                                     By:    /s/ Jarod J. Douglas
                                            Jarod J. Douglas
                                            Assistant U. S. Attorney




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                                  CERTIFICATE OF SERVICE

         I, Jarod J. Douglas, Assistant United States Attorney for the Northern District of West

  Virginia, hereby certify that on the 26th day of January 2021, the foregoing UNITED STATES’

  RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION FOR RECONSIDERATION OF

  DETENTION ORDER was electronically filed with the Clerk of the Court using the CM/ECF

  system which will send notification of such filing to the following:

                                      Shawn McDermott, Esq.
                               Mills McDermott Criminal Law Center
                                       1800 West King Street
                                      Martinsburg, WV 25401
                                       Counsel for Defendant

                                                       WILLIAM J. POWELL
                                                       UNITED STATES ATTORNEY

                                               By:     /s/Jarod J. Douglas
                                                       Jarod J. Douglas
                                                       Assistant U. S. Attorney




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